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                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        UNITED STATES OF AMERICA,                       CASE NO. CR15-0120-JCC-20
10                            Plaintiff,                  MINUTE ORDER
11             v.

12        DONALD C. SCHOLOFF,

13                            Defendant.
14

15            The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17            This matter comes before the Court sua sponte. An evidentiary hearing regarding alleged
18   supervised release violations is scheduled for October 27, 2020. (Dkt. No. 1239.) However,
19   Defendant is presently detained pending trial in a related matter. (Dkt. No. 1259.) See United
20   States v. Donald Scholoff, Case No. CR20-0153-JLR, Dkt. No. 6 (W.D. Wash. 2020).
21   Accordingly, the evidentiary hearing scheduled for October 27, 2020 in this instant matter is
22   hereby STRICKEN. The parties are directed to jointly move for a new hearing date in this matter
23   once charges in the related matter are resolved.
24   //
25   //
26   //


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 1          DATED this 21st day of October 2020.

 2                                                 William M. McCool
                                                   Clerk of Court
 3
                                                   s/Tomas Hernandez
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                                                   Deputy Clerk
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